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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                   :
OTTO A. VERNON,                                                    :   ORDER
                             Plaintiff,                            :
                                                                   :
                   -against-                                       :   19-CV-10520 (VEC) (OTW)
                                                                   :
COMMISSIONER OF SOCIAL SECURITY,                                   :
                                                                   :
                             Defendant.                            :
                                                                   :
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ONA T. WANG, United States Magistrate Judge:

         Per the Court’s February 19, 2020 Order, Plaintiff, proceeding pro se, was directed to file

his answering brief to the Commissioner’s Motion for Judgment on the Pleadings by June 19,

2020. (ECF 13). To date, Plaintiff has failed to file any response. Plaintiff shall respond to the

Commissioner’s motion, ECF 14, by November 20, 2020. Failure to timely file a response may

result in the Court considering the Commissioner’s motion to be unopposed. The Commissioner

may file a reply within 21 days of service of Plaintiff’s response.

         The Clerk of Court is respectfully requested to mail a copy of this Order and ECF 14-15

to the pro se Plaintiff.



         SO ORDERED.

                                                                       s/ Ona T. Wang
Dated: October 20, 2020                                                           Ona T. Wang
       New York, New York                                                United States Magistrate Judge
